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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                        Chapter 11

             MATTRESS FIRM, INC.,1                                         Case No. 18-12241 (CSS)

                                       Reorganized Debtor.                 Ref. Docket No. 1414


                         FINAL DECREE AND ORDER CLOSING THE CHAPTER 11 CASE
                            AND TERMINATING CLAIMS AND NOTICING SERVICES

                      Upon the motion (the “Motion”)2 of Mattress Firm, Inc., the reorganized debtor in the

         above-captioned chapter 11 case (the “Reorganized Debtor”), for entry of a final decree and order

         (this “Final Decree and Order”), pursuant to section 350(a) of the Bankruptcy Code, Bankruptcy

         Rule 3022, and Local Rule 3022-1, closing the chapter 11 case and terminating the Claims and

         Noticing Services provided by Epiq; and the Court having jurisdiction to consider the Motion and

         the relief requested therein pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware dated February 29,

         2012; and consideration of the Motion and the requested relief being a core proceeding pursuant

         to 28 U.S.C. § 157(b)(2); and the Court being able to issue a final order consistent with Article III

         of the United States Constitution; and venue being proper before this Court pursuant to 28 U.S.C.

         §§1408 and 1409; and appropriate notice of an the opportunity for a hearing on the Motion having

         been given; and the relief requested in the Motion being in the best interests of the Reorganized

         Debtor and other parties in interest; and the Court having determined that the legal and factual




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          The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Reorganized Debtor’s
         mailing address is 10201 S. Main Street, Houston, Texas 77025. The chapter 11 cases of certain affiliates of the
         Reorganized Debtor were closed effective as of November 22, 2018. See Case No. 18-12241, Docket No. 965.
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             Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Motion.
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         bases set forth in the Motion establish just cause for the relief granted herein; and after due

         deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The chapter 11 case of Mattress Firm, Inc., Case No. 18-12241 (CSS) is hereby

         CLOSED pursuant to section 350(a) of the Bankruptcy Code, effective as of the date of entry of

         this Final Decree and Order.

                3.      A docket entry shall be made in the chapter 11 case reflecting the entry of this Final

         Decree and Order.

                4.      Entry of this Final Decree and Order is without prejudice to the rights of the

         Reorganized Debtor or other party in interest to seek to reopen the chapter 11 case for cause

         pursuant to section 350(b) of the Bankruptcy Code.

                5.      Notwithstanding any provision of the Bankruptcy Code, Bankruptcy Rules or Local

         Rules to the contrary, the terms and conditions of this Final Decree and Order shall be immediately

         effective and enforceable upon its entry.

                6.      Subject to the performance of any obligations of Epiq pursuant to this Final Decree

         and Order, Epiq’s services as claims and noticing agent for the chapter 11 case, including the

         Claims and Noticing Services, are hereby terminated, and Epiq shall be deemed formally

         discharged as claims and noticing agent for the chapter 11 case without further order of the Court.

                7.      Pursuant to Local Rule 2002-1(f)(ix), within twenty-eight (28) days of the entry of

         this Final Decree and Order, Epiq shall: (a) forward to the Clerk of the Court an electronic version

         of all imaged claims; (b) upload the creditor mailing list into CM/ECF; and (c) docket a final

         claims register containing the claims filed in the chapter 11 case. Epiq shall further box and

         transport all original claims, in proper format, as provided by the Clerk of the Court, to the


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         Philadelphia Federal Records Center, located at 14470 Townsend Road, Philadelphia,

         Pennsylvania 19154-1096, and docket a completed SF-135 Form indicating the accession and

         location numbers of the archived claims.

                8.        Within thirty (30) days of the entry of this Final Decree and Order, the Reorganized

         Debtor shall (a) file with the Court and provide to the U.S. Trustee all outstanding post-

         confirmation reports, and (b) pay all Quarterly Fees due and payable pursuant to 28 U.S.C. § 1930.

                9.        The Reorganized Debtor and its agents are authorized to take all actions necessary

         to effectuate the relief granted pursuant to this Final Decree and Order in accordance with the

         Motion.

                10.       The Court shall retain jurisdiction to hear and determine all matters arising from or

         related to the implementation, interpretation and/or enforcement of this Final Decree and Order.




                   Dated: March 24th, 2020                      CHRISTOPHER S. SONTCHI
                   Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE

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